          Case 1:20-vv-02026-UNJ Document 37 Filed 07/28/22 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-2026V
                                        UNPUBLISHED


    MICHELLE SHEA,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: June 27, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for Petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On December 29, 2020, Michelle Shea filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered left shoulder pain after receiving the
influenza vaccine on October 14, 2019. Petition at 1, ¶¶ 2, 21. Petitioner further alleges
that she received the vaccine in the United States, that she suffered the residual effects
of her injury for more than six months, and that neither she nor any other party has filed
a civil action or received compensation for her shoulder injury. Petition at ¶¶ 21-22. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

       On June 27, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-02026-UNJ Document 37 Filed 07/28/22 Page 2 of 2




Specifically, Respondent has concluded that “[P]etitioner has satisfied the criteria set forth
in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to Interpretation
(“QAI”) for SIRVA.” Id. at 9. Respondent further agrees that “based upon the present
record, [P]etitioner has satisfied all legal prerequisites for compensation under the
Vaccine Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




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